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                    6 AMTRUST NORTH AMERICA, INC. and
                      SECURITY NATIONAL INSURANCE COMPANY
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                    8                                    UNITED STATES DISTRICT COURT
                    9                                        DISTRICT OF NEVADA
                   10
                      WFTLV01, LLC, a Nevada limited liability            Case No. 2:20-cv-01845-JCM-BNW
                   11 company; WFTLV02, LLC, a Nevada limited
                      liability company; WFTLV03, LLC, a Nevada           AMENDED STIPULATION AND ORDER
                   12 limited liability company; WFTLV04, LLC, a          TO EXTEND TIME TO RESPOND TO
                      Nevada limited liability company; and               COMPLAINT
                   13 WFTLV05, LLC, a Nevada limited liability
                      company,                                            [First Request]
                   14
                                       Plaintiffs,
                   15
                               vs.
                   16
                      AMTRUST NORTH AMERICA, INC., a
                   17 Delaware corporation; SECURITY
                      NATIONAL INSURANCE COMPANY, a
                   18 Delaware corporation

                   19
                                           Defendants.
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                   22            IT IS STIPULATED by and between all Plaintiffs and all Defendants, through their
                   23 respective counsel, and pursuant to LR IA 6-1 and LR 7-1, that the time for Defendants to respond

                   24 to Plaintiffs’ Complaint (ECF No. 1-2) may be extended to October 30, 2020. The parties agree

                   25 and respectfully submit that good cause exists for this stipulation based on the following:

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ATTORNEYS AT LAW        4818-4026-4142.1
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                    1            1.        Plaintiffs filed their Complaint in Clark County District Court on August 17, 2020.

                    2 (ECF No. 1-2).

                    3            2.        Defendant AmTrust North America, Inc. (“AmTrust”) was served through its

                    4 registered agent on September 2, 2020. (ECF No. 1-3).

                    5            3.        On September 16, 2020, defense counsel advised Plaintiffs’ counsel of their

                    6 representation. Since that time, the parties have been actively working to informally resolve

                    7 various proper party and pleading issues, as further detailed below, in order to narrow the issues in

                    8 this litigation and reduce the necessity of motion work relating to these issues. To facilitate this
                    9 dialogue, Plaintiffs agreed to provide Amtrust and defendant Security National Insurance

                   10 Company (“Security National”) with an extension to October 21, 2020 to respond to the

                   11 Complaint (though Security National had not yet been served).

                   12            4.        On September 22, 2020, defense counsel conferred with Plaintiffs’ counsel about

                   13 dismissing AmTrust without prejudice from the action because AmTrust did not issue the subject

                   14 insurance policy.

                   15            5.        On September 30, 2020, Security National was served through the Nevada Division

                   16 of Insurance. Pursuant to this service, Security National has 30 days, or until October 30, 2020, to

                   17 respond to Plaintiffs’ Complaint.

                   18            6.        Defendants filed their Notice of Removal of Action on October 2, 2020. (ECF No.

                   19 1).

                   20            7.        On October 6, 2020, in the interest of facilitating the continuing discussions about

                   21 the proper parties to the case, and to provide defense counsel with additional time to confer with

                   22 Defendants regarding the subject claim, the parties filed their Stipulation and Order to Extend

                   23 Time to Respond to Complaint (the “First Stipulation to Extend”). (ECF No. 7).

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                    1            8.        Pursuant to the parties’ continuing discussions, Plaintiffs agreed to dismiss

                    2 AmTrust without prejudice, subject to defense counsel’s agreement to accept service of a

                    3 subpoena, should it become necessary. These terms are memorialized in the parties pending

                    4 Stipulation and Order to Dismiss Defendant AmTrust North America, Inc. Without Prejudice,

                    5 which was filed on October 14, 2020. (ECF No. 8)

                    6            9.        Later on October 14, 2020, the court issued its minute order in chambers denying

                    7 the parties’ First Stipulation to Extend because the parties did not set forth good cause for the

                    8 extension as required by LR IA 6-1. (ECF No. 9).
                    9            10.       The parties remain engaged in further discussions regarding the proper parties to

                   10 the case.        Specifically, the parties are conferring as to whether plaintiffs WFTLV02, LLC,

                   11 WFTLV03, LLC, WFTLV04, LLC and WFTLV05, LLC may be dismissed. This dialogue

                   12 remains ongoing. Accordingly, good cause exists for the parties’ stipulation to permit additional

                   13 time to continue this dialogue, with the goal of either eliminating additional parties from the case

                   14 or narrowing the issues in dispute.

                   15            11.       The stipulated response date, October 30, 2020, is the actual response date for the

                   16 only remaining Defendant, Security National, based on formal service through the Nevada

                   17 Division of Insurance (as detailed in Paragraph 5 above).

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                    1            12.       The parties further agree that this stipulated extension of time does not operate as

                    2 any admission or waiver of any claim or defense by Plaintiffs or Defendants.

                    3
                        DATED this 16th day of October, 2020.                   DATED this 16th day of October, 2020.
                    4

                    5 KENNEDY & COUVILLIER, PLLC                                LEWIS BRISBOIS BISGAARD & SMITH
                                                                                LLP
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                    7 /s/ Maximiliano D. Couvillier                             /s/ Jeffrey D. Olster
                      Todd E. Kennedy                                           Jeffrey D. Olster
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                      Las Vegas, Nevada 89120
                   11 Attorneys for Plaintiffs

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                   15                                                   ORDER
                   16            IT IS SO ORDERED.
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                   18
                                                                        UNITED STATES MAGISTRATE JUDGE
                   19

                   20                                                           October 20, 2020.
                                                                        Dated: __________________________
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& SMITH LLP
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